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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MICHAEL COTTRILL and                         :
LAWRENCE E. WNUKOWSKI,                       :
         Plaintiffs,                         :       CIVIL ACTION
                                             :
       v.                                    :
                                             :
BRITNEY SPEARS, et. al,                      :       No. 02-3646
          Defendants.                        :


                                             ORDER
       AND NOW, this 23rd day of July, 2003, upon consideration of Defendants’ Motion to

Amend Judgment, Plaintiff’s letter response thereto, and Defendants’ reply letter, it is hereby

ORDERED that:

       As the Court inadvertently omitted a discussion regarding costs under 17 U.S.C. § 505 in

its Memorandum and Order dated July 2, 2003, Defendants’ Motion to Amend Judgment

(Document No. 46) is GRANTED as follows:

       Costs in the amount of $3,587.42 are GRANTED pursuant to 17 U.S.C. § 505.




                                             BY THE COURT:




                                             Berle M. Schiller, J.
